                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI



LOCKTON COMPANIES, LLC—PACIFIC
SERIES, LOCKTON INVESTMENT
ADVISORS, LLC, LOCKTON INVESTMENT
SECURITIES, LLC f/k/a LOCKTON
FINANCIAL ADVISORS, LLC, and                         Case No. 4:22-cv-00791-SRB
LOCKTON PARTNERS, LLC,

                       Plaintiffs,
               vs.

SALLIE F. GIBLIN,

                       Defendant.



                     DEFENDANT SALLIE GIBLIN’S MOTION TO DISMISS


         Under Federal Rules of Civil Procedure 12(b)(6) and 12(b)(1), Defendant Sallie Giblin

  respectfully moves this Court to dismiss Plaintiffs’ Complaint in its entirety, including all claims

  and prayers for relief, asserted in the Complaint. In support of this Motion, Giblin submits her

  accompanying Suggestions in Support and states:

         1.      Giblin began working for Lockton in 2006. With a combination of hard work and

  talent, Giblin became a successful producer and leader in Lockton’s Pacific Series. Giblin was a

  trailblazer for women, becoming the first woman to lead a Lockton office.

         2.      Giblin hoped through leadership and dedicated efforts she could improve

  Lockton’s culture—a culture defined by a prevalence of misogynistic attitudes and a toxic work

  environment. After challenging male Lockton executives about matters of company direction and

  policy, Giblin became the target of discrimination, harassment, and retaliation. Lockton cut the

  support staff for her book of business. Her clients complained and she lost some accounts.

                                          1
              Case 4:22-cv-00791-SRB Document 9 Filed 01/31/23 Page 1 of 5
Lockton removed her from the Pacific Series’ Executive Committee. Because of Lockton’s

retaliatory acts, Giblin ultimately realized her attempts to improve the company culture were

futile, and she decided to seek other employment.

         3.     Lockton executives promised Giblin they would help her transition to a new job if

that was what she wanted. Instead of fulfilling that promise, Lockton continued its pattern of

retaliation by filing this lawsuit after Giblin resigned to prevent her from working for a

competitor and tarnish her professional reputation.

         4.     Lockton relies on fabricated, baseless accusations that Giblin misappropriated

their contractually defined “confidential information”—which they then summarily conflate with

the legal term “trade secrets”—as the sole basis for subject-matter jurisdiction in this Court.

However, Lockton’s misappropriation of trade secrets allegations are grossly deficient under the

federal pleading standards for the following reasons:

     •    The Complaint fails to state a plausible claim that Giblin has or will disclose or use any

          supposed trade secrets. It merely includes speculative boilerplate conclusions, primarily

          made “upon information and belief.” It is completely devoid of supporting factual

          assertions about (without limitation) what type of information Giblin allegedly

          misappropriated, how she allegedly misappropriated it, and how this hypothetical

          misappropriation allegedly harmed Lockton economically.

     •    The Complaint contains no allegations, much less plausible allegations, that Giblin

          acquired any trade secrets through improper means. It only points out the obvious fact

          that Giblin, like many other Lockton employees, had access to confidential

          information—which it again conflates with trade secrets—while she was employed at

          Lockton. An employee having access to information because of their position in a

          company does not retroactively constitute acquiring trade secrets through improper

          means just because the employment relationship ends.
                                               2
           Case 4:22-cv-00791-SRB Document 9 Filed 01/31/23 Page 2 of 5
    •    The Complaint does not identify the alleged trade secrets with any particularity. It

         contains one broad legal conclusion: “Lockton’s Confidential Information constitutes

         trade secrets.” This legal conclusion should be disregarded in the analysis of this motion

         because it is not a factual assertion. Rather, the rest of the Complaint and attached

         agreements contradict this legal conclusion by repeatedly referring to “Confidential

         Information” and “trade secrets” as distinct categories of information.

    •    The customer information that Lockton asserts constitutes “Confidential Information”

         under its agreements with Giblin cannot be Lockton’s trade secret because Lockton does

         not own it. Customers own their insurance policies. The associated information—e.g.,

         policy numbers, coverages, carriers, expiration and renewal dates, rates—and any

         general information about the customer’s needs, preferences, risk tolerance, and

         financial history belongs to the customer, not the brokerage firm, and can be freely

         shared with anyone the customer chooses. Therefore, the brokerage firm cannot claim

         information it possesses about its customers as its trade secrets.

    •    Much of the customer information Lockton attempts to claim as “Confidential

         Information” and/or “trade secrets” cannot be a trade secret because it is publicly

         available. Under ERISA, many (if not most) companies must annually file a Form 5500

         with the Department of Labor disclosing their retirement and other welfare benefit

         plans. These forms publicly disclose numerous plan details, including the nature and

         starting date of the plan, the number of participants, the plan sponsor and administrator,

         any person or entity receiving commissions for the plan, and information regarding the

         funding of the plan and provided benefits.

        5.      Because Lockton’s baseless misappropriation of trade secrets claim under the

DTSA, which is their only alleged basis for subject-matter jurisdiction, should be dismissed


                                         3
             Case 4:22-cv-00791-SRB Document 9 Filed 01/31/23 Page 3 of 5
  under Rule 12(b)(6), the entire complaint should be dismissed under Rule 12(b)(1) for lack of

  subject-matter jurisdiction.

            6.      The Complaint also fails to allege a plausible breach of contract claim because it

  contains no factual support for the conclusory claims that Giblin breached her agreements with

  Lockton by soliciting other Lockton employees to leave Lockton and by “soliciting, or

  attempting to solicit, directly or indirectly,” Lockton clients.

            7.      For the same reason Lockton’s breach of contract claim does not meet the federal

  pleading standards, the Complaint also fails to allege a plausible claim for tortious interference.

            8.      The Complaint fails to allege a plausible claim for breach of fiduciary duty for

  three reasons:

        •    Negotiating with another employer for a new job and planning to compete against a

             current employer is not a breach of fiduciary duty; officers and employees are free to

             investigate and accept other opportunities.

        •    Workers have an inalienable right to quit their job. A fiduciary duty generally ends

             when a fiduciary leaves a company. Thus, Giblin did not owe Lockton a fiduciary duty

             after she terminated her employment with Lockton on November 29, 2022.

        •    Lockton relies on naked assertions that Giblin failed to return “Confidential

             Information” and took “Confidential Information” to use on behalf of a competitor. The

             facts do not support these allegations—which is highlighted by Lockton not even

             attempting to make factual assertions related to them.


        WHEREFORE, for these reasons and the reasons outlined in Giblin’s concurrently filed

Suggestions in Support, Giblin respectfully requests that the Court dismiss Lockton’s Complaint

in its entirety.



                                             4
                 Case 4:22-cv-00791-SRB Document 9 Filed 01/31/23 Page 4 of 5
 Dated: January 31, 2023                      Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

      I hereby certify that on this 31st day of January 2023, the foregoing was filed via the Court’s

ECF system.

                                                     /s/ Stacey R. Gilman
                                                     Attorney for Defendant Sallie Giblin




                                      5
          Case 4:22-cv-00791-SRB Document 9 Filed 01/31/23 Page 5 of 5
